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CLERK, UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF OKLAHOMA
333 WEST FOURTH STREET, ROOM 411
TULSA, OKLAHOMA 74103-3819

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JUL 17 2024

Heidi D. Campbell, Clerk
U.S. DISTRICT COURT

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